Case 3:16-cv-01417-M Document 148-1 Filed 08/25/17   Page 1 of 15 PageID 2359



                           EXHIBIT “A-1”
Case 3:16-cv-01417-M Document 148-1 Filed 08/25/17   Page 2 of 15 PageID 2360
Case 3:16-cv-01417-M Document 148-1 Filed 08/25/17   Page 3 of 15 PageID 2361
Case 3:16-cv-01417-M Document 148-1 Filed 08/25/17   Page 4 of 15 PageID 2362
Case 3:16-cv-01417-M Document 148-1 Filed 08/25/17   Page 5 of 15 PageID 2363
Case 3:16-cv-01417-M Document 148-1 Filed 08/25/17   Page 6 of 15 PageID 2364
Case 3:16-cv-01417-M Document 148-1 Filed 08/25/17   Page 7 of 15 PageID 2365
Case 3:16-cv-01417-M Document 148-1 Filed 08/25/17   Page 8 of 15 PageID 2366
Case 3:16-cv-01417-M Document 148-1 Filed 08/25/17   Page 9 of 15 PageID 2367



                           EXHIBIT “A-2”
Case 3:16-cv-01417-M Document 148-1 Filed 08/25/17   Page 10 of 15 PageID 2368
Case 3:16-cv-01417-M Document 148-1 Filed 08/25/17   Page 11 of 15 PageID 2369
Case 3:16-cv-01417-M Document 148-1 Filed 08/25/17   Page 12 of 15 PageID 2370
Case 3:16-cv-01417-M Document 148-1 Filed 08/25/17   Page 13 of 15 PageID 2371
Case 3:16-cv-01417-M Document 148-1 Filed 08/25/17   Page 14 of 15 PageID 2372
Case 3:16-cv-01417-M Document 148-1 Filed 08/25/17   Page 15 of 15 PageID 2373
